

Sainsbury v Brzezinski (2017 NY Slip Op 07873)





Sainsbury v Brzezinski


2017 NY Slip Op 07873


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, DEJOSEPH, AND WINSLOW, JJ.


1304 CA 17-00816

[*1]LISA SAINSBURY, PLAINTIFF-APPELLANT,
vFLORIAN BRZEZINSKI, DEFENDANT-RESPONDENT. 






CAMPBELL &amp; ASSOCIATES, EDEN (R. COLIN CAMPBELL OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
LAW OFFICES OF JOHN TROP, ROCHESTER (TIFFANY L. D'ANGELO OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Donna M. Siwek, J.), entered August 1, 2016. The order denied the motion of plaintiff for a directed verdict and the motion of plaintiff to set aside the verdict. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: November 9, 2017
Mark W. Bennett
Clerk of the Court








